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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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Civil Action No. 21 MC 92 (SAS)
IN RE INITIAL PUBLIC OFFERING __
SECURITIES LITIGATION 01 Civ. 5948 (SA MEE}: a Soar
Oe oC SDNY
This Document Relates To: DOCUMENT
In re Digitas, Inc. IPO Sec. Litig. Hee RCT RONIC CALLY FILE

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ORDER AND FINAL JUDGMENT . ~!

 

On the 10" day of September, 2009, a hearing having been held before this Court to
determine: (1) whether the terms and conditions of the Stipulation and Agreement of Settlement
dated April 1, 2009 (the “Stipulation”) are fair, reasonable, and adequate for the settlement of all
claims asserted by the Settlement Classes against the Defendants in the respective operative
Complaints now pending in the Actions in this Court (including the above-referenced Action)
under the captions listed on Exhibit A to the Stipulation, including the release of the Defendants
and the Protected Persons from the Settled Claims, and should be approved; (2) whether
judgment should be entered dismissing the Complaints as against the Defendants in each of the
respective Actions only, on the merits and with prejudice in favor of the Defendants and as
against all persons or entities who are members of the respective Settlement Classes in such
Actions who have not requested exclusion therefrom; (3) whether to approve the proposed
Designation and Plan of Allocation as a fair and reasonable method to allocate the settlement
proceeds among the cases and the members of the Settlement Classes; (4) whether and in what
amount to award Plaintiffs’ Counsel fees and reimbursement of expenses; and (5) whether and in
what amount to award the proposed Settlement Class Representatives and/or Lead Plaintiffs

reasonable time and expense reimbursement (including lost wages) incurred as a result of their
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representation of the Settlement Classes (“PSLRA Award Requests”). The Court having
considered all matters submitted to it at the hearing and otherwise; and it appearing that a notice
of the hearing substantially in the form approved by the Court was mailed to all persons or
entities reasonably identifiable who purchased or otherwise acquired the Subject Securities set
forth on Schedule 1 to the Notice of Pendency and Proposed Global Settlement of 309 Class
Actions, Motion for Approval of Settlement, Plan of Allocation, Attorneys’ Fees and Expenses,
PSLRA Awards of Reimbursement of Representatives’ Time and Expenses and Settlement
Fairness Hearing (the “Settlement Notice”) in the date ranges set forth in said Schedule 1 (the
“Settlement Classes” or “Settlement Class Periods”), as shown by the records of the Issuers’
transfer agents at the respective addresses set forth in such records, and that a summary notice of
the hearing substantially in the form approved by the Court was published in the national
editions of The Wall Street Journal, USA Today, and The New York Times, and once over the PR
Newswire pursuant to the specifications of the Court, and copies of the Settlement Notice were
mailed to all persons or entities who were identified as potential class members in connection
with the previously terminated settlement or who requested copies as a result of the publication
notice or otherwise, and copies of the Settlement Notice were also made available at
www.iposecuritieslitigation.com; and the Court having considered and determined the fairness,
reasonableness and adequacy of the Settlement, the proposed Designation and Plan of
Allocation, and the fairness and reasonableness of the award of attorneys’ fees and expenses
requested and the PSLRA Award Requests; and all initial capitalized terms used herein having
the meanings as set forth and defined in the Stipulation.

NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED

THAT:
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1. The Court has jurisdiction over the subject matter of this Action, the Lead
Plaintiff(s), Proposed Settlement Class Representative(s), all Settlement Class Members, and the
Defendants, in this Action.

2. The Court finds for the purposes of the Settlement only that the prerequisites for
certification of this Action as a class action under Rule 23 (a) and (b)(3) of the Federal Rules of
Civil Procedure have been satisfied in that in this Action: (a) the number of Settlement Class
Members herein is so numerous that joinder of all members thereof is impracticable; (b) there are
questions of law and fact common to the members of the Settlement Class herein; (c) the claims
of the Settlement Class Representative(s) herein are typical of the claims of the Settlement Class
sought to be represented; (d) the Settlement Class Representative(s) and Plaintiffs’ Executive
Committee have fairly and adequately represented, and will fairly and adequately represent, the
interests of the Settlement Class herein; (e) questions of law and fact common to the remaining
members of the Settlement Class herein predominate over questions affecting only individual
remaining members of the Settlement Class herein; and (f) a class action is superior to other
available methods for the fair and efficient adjudication of the remaining controversy in this
Action.

3. Pursuant to Rule 23 of the Federal Rules of Civil Procedure and for the purposes
of the Settlement only, this Court hereby finally certifies this Action as a class action on behalf
of all persons who purchased or otherwise acquired the common stock (the “Subject Security”)
of Digitas, Inc. (“Digitas”) during the period March 13, 2000 through December 6, 2000 (the
“Digitas Settlement Class”). Excluded from the Digitas Settlement Class herein are: (a) each
Person, other than a Natural Person, that was identified as a recipient of an allocation of shares

from the “institutional pot” in the IPO or Other Charged Offering of any of the 309 Subject
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Securities, according to a list derived from the final “institutional pot” list created at the time of
each IPO or Other Charged Offering by the lead Underwriter in that Offering (“Excluded
Allocants”); (b) (i) each Person that currently is or previously was a named defendant in any of
the 309 Actions (hereafter “Named Defendant”); (ii) any attorney who has appeared in the
Actions on behalf of a Named Defendant; (iii) members of the immediate family of any Named
Defendant, (iv) any entity in which any Excluded Allocant or Named Defendant has or during
any of the class periods had a majority interest; (v) the legal representatives, heirs, successors or
assigns of any Excluded Allocant or Named Defendant; and (vi) any director, officer, employee,
or beneficial owner of any Excluded Allocant or Named Defendant during any of the Settlement
Class Periods. Notwithstanding the prior sentence, a person shall not be excluded from the
Digitas Settlement Class herein merely by virtue of his, her or its beneficial ownership of the
securities of a publicly-traded Excluded Allocant or Named Defendant. Also excluded from the
Digitas Settlement Class herein are the persons and/or entities who requested exclusion from
every Settlement Class as listed on Exhibit 1 annexed hereto and the following persons and/or
entities who requested exclusion from the Digitas Settlement Class: Cheryl Catron.

4. Pursuant to Rule 23 of the Federal Rules of Civil Procedure and for the purposes
of the Settlement only, the Proposed Settlement Class Representative(s) herein, Richard McKee
and Joseph C. Rowe, Jr., are finally certified as Settlement Class Representative(s) in this
Action; and the firms comprising the Plaintiffs’ Executive Committee are finally certified as
Class Counsel in this Action.

5. Notice of the pendency of the Actions as class actions and of the proposed
Settlement was given to all Members of the Settlement Classes in all 309 Actions who could be

identified with reasonable effort, including all members of the Digitas Settlement Class herein.
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The form and method of notifying the Digitas Settlement Class of the pendency of this Action as
a class action and of the terms and conditions of the proposed Settlement, including the use of a
separate website to identify the alleged artificial inflation amounts and end of Class Period
holding price for the Subject Security, met the requirements of Rule 23 of the Federal Rules of
Civil Procedure, Section 27 of the Securities Act of 1933, 15 U.S.C. § 77z-1(a)(7) as amended
by the Private Securities Litigation Reform Act of 1995, Section 21D(a)(7) of the Securities
Exchange Act of 1934, 15 U.S.C. § 78u-4(a)(7) as amended by the Private Securities Litigation
Reform Act of 1995, due process, Rule 23.1 of the Local Civil Rules of the United States District
Courts for the Southern and Eastern Districts of New York, and any other applicable law,
constituted the best notice practicable under the circumstances, and constituted due and sufficient
notice to all persons and entities entitled thereto.

6. The Settlement is approved as fair, reasonable and adequate for the settlement of
this Action, and the parties to the Stipulation are directed to consummate the Settlement in
accordance with the terms and provisions of the Stipulation.

7. Except to the extent waived by all parties in writing, the Settlement is conditioned
on entry of an Order and Final Judgment approving the settlements in each and every one of the
Actions.

8. The Complaints in this Action, which the Court finds were each filed on a good
faith basis in accordance with the Private Securities Litigation Reform Act of 1995 (the
“PSLRA”) and Rule 11 of the Federal Rules of Civil Procedure, based upon publicly available
information, are hereby dismissed as against all Defendants in this Action and the Bankrupt
Issuers, with prejudice and, except to the extent costs are provided in the Stipulation, without

costs.
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9. Except as provided in paragraphs 10 and 11 below, upon the Effective Date, Lead
Plaintiff(s), the Settlement Class Representative(s) and the Digitas Settlement Class Members in
this Action, on behalf of themselves, their heirs, executors, administrators, successors and
assigns are hereby permanently barred and enjoined from filing, commencing, prosecuting,
intervening in or participating in, any and all Settled Claims against any and all of the Protected
Persons in the Actions or in any other proceeding. The Settled Claims are hereby compromised,
settled, released, discharged and dismissed as against the Protected Persons on the merits and
with prejudice by virtue of the proceedings herein and this Order and Final Judgment.

10. Lead Plaintiff(s), Proposed Settlement Class Representative(s) and the Digitas
Settlement Class Members, upon the Effective Date, are hereby deemed to have covenanted not
to sue the Bankrupt Issuers or Lehman or prosecute any action against the Bankrupt Issuers or
Lehman with respect to any Bankrupt Issuers and Lehman Resolved Claims; provided, however,
that in the event that any Bankrupt Issuers and/or Lehman asserts a claim against any Lead
Plaintiff, Proposed Settlement Class Representative or Digitas Settlement Class Member that
otherwise would have been released pursuant to this Paragraph 10, such Lead Plaintiff, Proposed
Settlement Class Representative or Digitas Settlement Class Member shall be permitted to assert
defensively (up to the amount of any Bankrupt Issuer’s or Lehman’s claim, as the case may be)
all matters against any Bankrupt Issuer and/or Lehman that would otherwise have been barred or
released pursuant to this Paragraph.

11. + The release and injunction referred to in Paragraphs 9 and 10 above shall not bar
any Digitas Settlement Class Member from asserting in any other proceeding that conduct with
regard to the allocation of any shares to or by Protected Persons is relevant evidence in such

other proceeding, but shall bar Digitas Settlement Class Members in their own right from
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asserting a Settled Claim against the Protected Persons in that other proceeding. The Protected
Persons shall retain all rights and defenses with regard to any such assertion.

12. Upon the Effective Date, each of the Protected Persons (except Lehman and the
Bankrupt Issuers) are hereby deemed to have released and forever discharged the Settled
Defendant Claims in this Action, against any Digitas Settlement Class Members, directors and
officers of any Digitas Settlement Class Member, and the present and former agents, attorneys
and employees of any Digitas Settlement Class Member, acting in such capacity, and each of
their respective successors and assigns to the fullest extent permitted by law.

13. Upon the Effective Date, each of the Protected Persons (except Lehman and the
Bankrupt Issuers) is hereby deemed to have released and forever discharged the Settled Cross
Defendant Claims against any other Protected Person, to the extent described in Paragraphs 26
and 27 of the Stipulation, to the fullest extent permitted by law. Upon the Effective Date, the
Protected Persons are, to the fullest extent permitted by law, deemed to covenant not to sue the
Bankrupt Issuers and/or Lehman and/or a Protected Person or prosecute any action against the
Bankrupt Issuers and/or Lehman and/or a Protected Person with respect to any Settled Cross
Defendant Claims; provided, however, that in the event that a Bankrupt Issuer and/or Lehman
and/or a Protected Person asserts a claim against any Protected Person that otherwise would have
been released pursuant to this Paragraph, such Protected Person shall be permitted to assert
defensively (up to the amount of the Bankrupt Issuer’s and/or Lehman’s and/or the Protected
Person’s claim) all matters against the Bankrupt Issuers and/or Lehman and/or the Protected
Person that would otherwise have been barred or released pursuant to this Paragraph.

14. To the fullest extent permitted by law, the Protected Persons are hereby

discharged from all Claims Over by any person or entity, whether arising under state, federal or
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common law, based upon, arising out of, relating to, or in connection with the Settled Claims of
any Digitas Settlement Class Member. To the fullest extent permitted by law, the Court hereby
bars, enjoins and restrains commencement, enforcement or assertion of all such Claims Over: (a)
against the Protected Persons by any person (except Lehman); and (b) by the Protected Persons
(except Lehman) against any person or entity.

15. To effectuate the protection of Protected Persons contemplated by Paragraph 14
and to compensate for any impairment of any person’s interest in barred Claims Over, the Court
orders that any judgment or award obtained by any shareholder of an Issuer or an Issuer on any
claim arising out of or reasonably flowing from the conduct alleged to be wrongful in these
Actions (except for Section 16(b) claims against any Defendant in litigations previously filed as
of the date of execution of the Stipulation), in this Court, in any federal or state court, or in any
other court, arbitration proceeding, administrative agency proceeding, or other forum in the
United States or elsewhere, including but not limited to claims against Lehman, shall be reduced
by the greater of (i) the amount that corresponds to the percentage of proportionate fault of
Protected Persons adjudged responsible or (ii) the amount allocated to the Action against that
Issuer under the Plan of Allocation in this Settlement.

16. The Defendants have denied and continue to deny any wrongdoing whatsoever.
This Order and Final Judgment shall in no event be construed or deemed to be evidence of or an
admission, presumption or concession on the part of any Protected Person of any fault, liability,
coverage or wrongdoing as to any facts or claims asserted in the Actions (or any infirmity in the
defenses that they have asserted or could assert in the Actions), or any other actions or
proceedings, and shall not be interpreted, construed, deemed, invoked, offered, or received in

evidence or otherwise used against a Protected Person in the Actions, or in any other action or
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proceeding, whether civil, criminal or administrative. Notwithstanding anything contained herein
to the contrary, this Order and Final Judgment may be used by any Person to enforce its terms.

17. The proposed Plan of Designation! and Plan of Allocation’ are approved as fair
and reasonable, and Plaintiffs’ Executive Committee and the Claims Administrator are directed
to administer the Stipulation in accordance with their terms and provisions.

18. The Court finds that all parties and their counsel have complied with each
requirement of Rule 11 of the Federal Rules of Civil Procedure as to all proceedings herein.

19. Pursuant to this Court’s October 5, 2009 Opinion and Order, attorneys’ fees in the
amount of one-third (33-1/3%) of the Settlement amount, net of $46,941,556.96 of litigation
expenses, $27,500,000 of anticipated Administration fees, and a total of $1,303,593.05 in
PSLRA reimbursements awarded to specific plaintiffs, were awarded to Plaintiffs’ Counsel.
Attached hereto as Exhibit 2 is a list showing, for each of the Actions covered by this Court’s
October 5, 2009 Opinion and Order: (i) the Total Designation Amounts for each of the Actions
covered by this Court’s October 5, 2009 Opinion and Order; (ii) the proportionate amounts of the
$27,500,000 reserved for the Administrators’ fees; (11) the PSLRA Awards, and (iv) the
proportionate amounts of the $46,941,556.96 of litigation expenses awarded. In this Action,
Plaintiffs’ Counsel are awarded the amounts of attorneys’ fees and litigation expenses as shown

on Exhibit 2 for this Action, which sum the Court finds to be fair and reasonable.’ The foregoing

 

' Schedule 2 to Exhibit 1 to Exhibit C of the Stipulation.

As set forth in the Notice (Exhibit 1 to Exhibit C of the Stipulation) beginning at page 14.

3 No adjustment shall be made for any spillover to or from this Action’s Total Designation

Amount, as any spillover amount will ultimately go to Members of the Settlement Classes, net of
the present fee award only, in which case the portion of the fee attributable to such spillover shall
be deemed paid from the spillover’s recipients. There shall be no reversion to Defendants by
virtue of any spillover, nor shall any additional fees be paid to Plaintiffs’ Counsel upon any
spillover.
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fees and expenses shall be paid to Plaintiffs’ Executive Committee from the Gross Settlement
Fund with interest from the date such Settlement Fund was funded to the date of payment at the
same net rate that the Settlement Fund earns. The award of attorneys’ fees shall be allocated
among Plaintiffs’ Counsel by, and in a fashion which in the opinion of, Plaintiffs’ Executive
Committee, fairly compensates Plaintiffs’ Counsel for their respective contributions in the
prosecution of this Action.

20. In making this award of attorneys’ fees and reimbursement of expenses to be paid
from the Gross Settlement Fund, the Court has considered the reasons and facts discussed at
length in the Court’s October 5, 2009 Opinion and Order, including that:

a. Plaintiffs’ Counsel has created a settlement fund which is reflected in the
Total Designation Amount for this Action shown on Exhibit 2 attached hereto, that is already on
deposit and earning interest, and that numerous Digitas Settlement Class Members who submit
acceptable Proofs of Claim will benefit from the Settlement created by Plaintiffs’ Counsel;

b. Over seven million copies of the Settlement Notice were disseminated to
putative Settlement Class Members in all 309 Actions, including 40,700 mailed with
“Frontispieces” specifically directed to members of the Digitas Settlement Class, indicating that
Plaintiffs’ Counsel were moving for attorneys’ fees in the amount of up to 33-1/3% of the Gross
Settlement Fund, plus interest, and for reimbursement of expenses in an amount of
approximately $56 Million, plus interest, and approximately only 140 objections, representing
less than a hundredth of one percent of all Settlement Classes, were filed against the Settlement
and/or the fee and expense request set forth in the Settlement Notice;

c. Plaintiffs’ Counsel have conducted the litigation and achieved the

Settlement with skill, perseverance and diligent advocacy;

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d. The action involves complex factual and legal issues and was actively
prosecuted over eight years and, in the absence of a settlement, would involve further lengthy
proceedings with uncertain resolution of the complex factual and legal issues;

e. Had Plaintiffs’ Counsel not achieved the Settlement there would remain a
significant risk that the Settlement Classes may have recovered less or nothing from the
Defendants;

f. Plaintiffs' Counsel have committed hundreds of thousands of hours in
litigating the 309 Actions and ultimately achieving the Settlement; and

g. The amount of attorneys’ fees awarded and expenses reimbursed from the
Settlement Fund are fair and reasonable under the circumstances of this Action.

21. Pursuant to the PSLRA, Richard McKee and Joseph C. Rowe, Jr. are hereby
awarded $5,000.00 and $10,000.00, respectively, as reasonable time and expense reimbursement
(including lost wages) incurred as a result of representing the Digitas Settlement Class in this
Action.

22. In granting these PSLRA Award Requests to be paid out of the Gross Settlement
Fund, the Court has considered and found the reasons and facts discussed at length in the Court’s
October 5, 2009 Opinion and Order.

23. Exclusive jurisdiction is hereby retained over the parties and the Digitas
Settlement Class Members for all matters relating to this Action, including the administration,
interpretation, effectuation or enforcement of the Stipulation and this Order and Final Judgment,
including any application for fees and expenses incurred in connection with administering and
distributing the settlement proceeds to the members of the Digitas Settlement Class, and for all

further proceedings herein relating to the Settlement.

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24. Without further order of the Court, the parties may agree to reasonable extensions
of time to carry out any of the provisions of the Stipulation.

25. The Clerk of the Court is directed to file a true copy of this Order and Final
Judgment in this Action.

Dated: New York, New York

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UNITED STATES DISTRICT JUDGE

  
 

 

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EXHIBIT 1

IN RE INITIAL PUBLIC OFFERING SECURITIES LITIGATION
CIVIL ACTION NO. 21 MC 92 (SAS)

EXCLUSION REQUESTS - ALL SETTLEMENT CLASSES

Donna R. Adams

Fredric L. Aibel (Trust Acct.)

Brad Anselmo

Donner T. Bailey (Deceased) (IRA Acct.)

Richard L. Balser (PMA Acct.)

Richard G. Barrows (IRA Acct.)

Marcelle G. Baumbach

James D. Becker

Karen Belsky & Melvin Belsky (Trust Acct.)

Daniel & Mary Ann Bernardi (Joint Acct.)

Mary Ann Bernardi (IRA Acct.)

Noreen Betten & Paul Betten (Joint Acct.)

Gerald T. Bird & Kristine I. Bird (Joint Acct.)

Markus Blechner

Anthony D. Bogus & Margaret L. Bogus (Trust Acct.)
Jeffrey J. Bradt

Timothy K. Brady

Dwight G. Brainard (Individual Acct.)

Dwight G. Brainard & Gwendolyn H. Brainard (Joint Acct.)
Eric S. Braley (Roth IRA Acct.)

Marco L. Brew

Robert Browder

Iva H. Brown (Individual Acct.)

Iva H. Brown (Trust Acct.)

Kevin Brown (IRA Acct.)

Garth R. Budlong

Jean M. Buescher & Robert E. Buescher (Deceased) (Joint Acct.)
Robert Calamari (Trust Acct.)

Angela Cappiello & Augustino Cappiello (Joint Acct.)
Henreitte Clapp & John R. Clapp (Joint Acct.)

John R. Clapp (Individual Acct.)

CNN Investment Co., Inc.

Burton Cohen & Tess Cohen (Trust Acct.)

Linda R. Collings

Stanley Compton

John J. Connolly

Beverly J. Cosper (Individual Acct.)

Beverly J. Cosper & Bruce R. Cosper (Joint Acct.)
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Mary Crehan

Daniel L. Curtis

Anthony D'Agostino & Rose D'Agostino (Deceased) (Joint Acct.)
George Darwin (Individual Acct.)

George Darwin, Viola D. Darwin, Jeffrey Darwin & Diana Leboeuf (Joint Acct.)
George Darwin & Viola D. Darwin (Joint Acct.)
Melody F. Davenport

Louis Debole & Mary Debole (Joint Acct.)

Dwane L. Decker (Deceased) & Verma Decker (Joint Acct.)
Glenn P. Deltondo & Maria R. Deltondo (Joint Acct.)
Irmgard Dern

Jerry L. Dieball (IRA Acct.)

Jerry L. Dieball & Karen L. Dieball (Joint Acct.)
Louis A. Diller (IRA Acct.)

Richard T. Dolbeare

Arthur J. Domingue, Jr. (IRA Acct.)

Dale L. Doucet & Evelyn J. Doucet (Joint Acct.)
Iraida M. Echeandia

Nancy K. Edenfield (IRA Acct.)

Sylvia M. Edney (Roth IRA Acct.)

Arthur T. Elgin Il

Donald F. Erickson, Sr. (Deceased) (IRA Acct.)
Michael J. Fealy (RA Acct.)

Michael A. Fiorenzo

Douglas C. Flegal (SEP-IRA Acct.)

Daun A. Fondarella & Pat J. Fondarella (Joint Acct.)
Jan A. Fulks (Deceased)

George Galvan & Gloria D. Galvan (Joint Acct.)
Gary Nibbelink Associates

John R. Gingles (IRA Acct.)

Miu-Chu W. Gong & Phillip S. Gong (Joint Acct.)
Good Shepherd Church (Operations Acct.)

Good Shepherd Church (Building Fund Acct.)

Ruby T. Gregory

Despina Hatton & John O. Swendseid (Joint Acct.)
Arne E. Heikkila (Deceased)

Carrie L. Higo & Paul H. Higo (Joint Acct.)

Mildred A. Howard & Nelson Howard (Joint Acct.)
Jung-Hsin Hu & Danny T. Tsao (Joint Acct.)
Elizabeth J. Janiszewski (Roth IRA Acct.)

Raymond G. Jarisch

Mary N. Johnson & Russell L. Johnson (Joint Acct.)
Kevin L. Jones

K & A Mulzer Enterprises LP

Jon Kayyem (Individual Acct.)

Judith W. Kielhofer & Kary D. Kielhofer (Joint Acct.)
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Bridie Kilduff

Donald A. Kissell (IRA Acct.)

R.J. Kleve (Deceased)

Koch Equity Holdings Inc.

John Kong

Carr C. Kreuger II (Individual Acct.)

Carr C. Kreuger II & Lori L. Krueger (Joint Acct.)
Betty L. Kruchten & Joseph L. Kruchten (Joint Acct.)
Joseph L. Kruchten (Individual Acct.)

Barbara Lawton & Howard E. Lawton (Trust Acct.)
Loreen E. Lejeune & Jonathan H. Wenocur (Joint Acct.)
Deeann M. Limp & Wayne E. Limp (Joint Acct.)
Aloysius W. Little & Virginia C. Little (Trust Acct.)
Gregory T. Little & Virginia C. Little (Joint Acct.)
Tom R. Loffland (Individual Acct.)

Tom R. Loffland (Trust Acct. 1)

Tom R. Loffland (Trust Acct. 2)

George E. Loomis

Arthur F. Luetke

Michael R. Lufrano

Jennings M. Lyon

Domenica M. Macerata

Minh T. Mai (Individual Acct.)

Minh T. Mai (Roth IRA Acct.)

Edward Makarchuk

Thomas G. Mansfield

Curtis E. Marc, Jr.

Larry Matthews

Laverne McCombs & Robert L. McCombs (Joint Acct.)
Mildred E. McLemore & Robert W. McLemore (Joint Acct.)
Robert W. McLemore (IRA Acct.)

Virginia M. McNear

Robert E. Megill (IRA Acct.)

Gail P. Miller & Richard J. Miller (Trust Acct.)
Lenore Miller

Yaichiro Minami (IRA Acct.)

Yaichiro Minami (Trust Acct.)

John T. Mitchell

James M. Monger & Lucille M. Monger (Trust Acct.)
Pamela A. Moore

Andrea H. Mulzer

Kenneth D. Mulzer, Sr. (IRA Acct.)

Kristin J. Mulzer (Individual Acct.)

Kristin J. Mulzer (IRA Acct.)

Billy Murphy

Marilyn A. Murrow (IRA Acct.)
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John A. Newton III (IRA Acct.)

Alice B. Newton (IRA Acct.)

Gary D. Nibbelink (Individual Acct.)

Gary D. Nibbelink & Linda A. Nibbelink (Joint Acct.)
Gary D. Nibbelink & Linda A. Nibbelink (Profit Sharing Acct.)
Linda A. Nibbelink (Individual Acct.)

Anne M. Noonan

Talila G. O'Higgins

Bruce A. Paige & Donna H. Paige (Joint Acct.)
James M. Parker

David B. Pedersen & Diane S. Pedersen (Joint Acct.)
Diane S. Pedersen (Individual Acct.)

Clara E. Perrin & Clayton J. Perrin (Trust Acct.)
Eusibius Peters

William B. Pettinger (Deceased)

Charles R. Platt

Eugene F. Pleyvak

John A. Primeau (Deceased) & Suzanne C. Primeau (Joint Acct.)
Barbara P. Radebaugh

M. Rangaraj (401K Acct.)

Boyce A. Ray (Individual Acct.)

Boyce A. Ray (IRA Acct.)

James R. Reitnauer

Mark R. Rizzo

Griffen A. Rizzo (Custodial Acct.)

Lester Rose (Trust Acct.)

Dorothy D. Rupel (Trust Acct.)

Sterling M. Ryder

Valerie A. Saines

Patricia G. Salisbury (IRA Acct.)

Evan C. Santistevan

Barbara V. Schugt & H. Dieter Schugt (Joint Acct.)
Ingeborg Schuster

Nancy A. Scott (Roth IRA Acct.)

Bonnie N. Shimasaki & Robert K. Shimasaki (Joint Acct.)
Albin J. Sircely

James P. Slupe

Barton L. Small & Catherine E. Small (Trust Acct.)
Barbara J. Smith (Individual Acct.)

Barbara J. Smith & Thomas F. Smith (Trust Acct.)
Brenda J. Smith & Nathan J. Smith (Joint Acct.)
Frances Smith (Trust Acct.)

James Smith (Deceased) (IRA Acct.)

Thomas F. Smith (Individual Acct.)

Raymond W. Sperring, Jr. (IRA Acct.)

Raymond W. Sperring III
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Steven P. Stachwick

Marc G. Stalker & Salena W. Stalker (Joint Acct.)
Marlies Starbird

Patricia S. Steele (Individual Acct.)

Sue Steele (IRA Acct.)

Morgan Stewart

W.J. Sturm (IRA Acct.)

Eric M. Talgo (Individual Acct.)

Eric M. Talgo & Lynda Talgo (Joint Acct.)
Delena R. Tanner

Richard A. Taylor (IRA Acct.)

Mary T. Thayer

Bjorn C. Tollerud & Bjorn E. Tollerud (Joint Acct.)
Bjorn E. Tollerud (Individual Acct.)

Turner Broadcasting System, Inc.

Irwin Usher (Deceased)

Jeffrey D. Van Gundy

Deborah A. Verginia & Michael D. Verginia (Joint Acct.)
Ava N. Walker (Individual Acct.)

Ava N. Walker (IRA Acct.)

J.W. Walker (IRA Acct.)

Jonathan H. Wenocur (Individual Acct.)

David E. West

Tony R. Whisenant

Ralph Whited

David A. Windecker (IRA Acct.)

Windecker Family Trust

Mona M. Wolf

Charles Wright, Jr. & Frances L. Wright (Joint Acct.)
Michelle D. Wright

John C. Yancy (401K Acct.)

Arlene Yannece & Ralph Yannece (Joint Acct.)
Youth Help Association Inc.

George E. Zeigler

Farida K. Zreik
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& UWOIYXS
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(78 '°6F 1889) (ge'sce'rz$) (LV6@S'€$) (tse F1$) 76'SOL*EOES ONI SAIDOTONHOSL ANITWO.LLOG
(6C° 11 L81$) (9p €ZL‘TS$) (00°0088) (Tr TOE OES) Zr S69'SH9$ ADO TONHOSL WVHXAOOd
(CY TEL CLES) (€8°7L8°CO1$) (00°0S29) (6P'997'09$) CO VET PST IS ONI TUVM.LAOS INLLUVAW 3NTE
(¢s'9S0°SL¢$) (pr I1SCOTS) (c¢'9%S$) (19°0r9'09$) 97 961767 1S ONI aaa Ad
(OG L8F E17$) (6Z'026'°8S$) (00° 819°T1$) OS LIS PES) OS'LESSELS SHIDO TONHOSL Pam MOVE
(IS LEE O6LS) (9p PT1'817$) (00°000°01$) C16 PSLLZ1$) $7086 ‘CZL‘7$ ONI SWALSAS IOIAV
(LO LET POSS) (CE EZLSS IS) (ee C€C°e$) (S1'8EZ'16$) 10°686°€F6'1$ ONI V ANNSAV
(IZ PL0°L8$) (1S 1£0'rz$) 00°0$ (OS 8L0°FT$) 00°000°00€$ ONI ODLNVAV
(€6'160°£60°7$) (ZVOL9'LLS$) CU ESL TIS) (6Z'61F SEES) er LOY TIZ L$ duOd XANVAV
(66° 296'SSP$) (19'0F8‘S71$) 00°0$ (18 1ZL"EL$) S8'Pr6 OLS'I$ ONI WOO’ daMO.LNV
(€LCLE SHES) (00°L+196$) (00'S28°T) (L797E'9S$) €S' 197007 I$ ONI WOO TELAPOLNV
(rE'69E'97Z$) (tr SL T79$) 00°0$ {8Z°009°9£$) IL'8166LL$ ONI ATAIGNV
(82'690 01 1$) (06° LLE‘OE$) 00°0$ (Er 96L°LTS) 08'S7Z6LES ONI SNELSAS TYOIGAW LOddSV
(68°L59°696$) (13°PI19‘L97$) {00'60¢ 6$) (80°8LL°9S1$) 9E 86L OPE ES ONI SAAT ASV
(Or ¥ZSESZ$) (LE'P96°L07$) (00° 0087S) CLL TER 1Z1$) v9'SPl96S‘°7S SONICTOH OANIVISV
(6° LLT101$) (65° 1S6‘L7$) (00''69°S$) (TO'SLEOT$) $9 9E6'8hES ONI WOO CYOIHSV
(6U98ELIP IS) (S878 1 16€$) (8¢°109°7$) (pS'891'67Z$) ve ELE ESBS ONI Varev
(r8°8£6°S07$) (€3°9€8°9S$) (6L°S1E$) (00°L6Z°EE$) SL'87S‘60L$ INI ADO TONHOAL SOdOUdV
(SL°SL6 8LZ$) (17'#66°9L$) (00°S62'1$) (68°SO SP$) €S'SOT196$ ONI SOINADLLNV
(1Z'PL0°L8$) (1s 1€0'r7$) 00°0$ (OS 8L0'FT$) 00°000‘00€$ ONI ANIINO AOTIV
(ZL'PLO'S8Z$) ($0 €¥8'8L5) (00°000°0[$) (10°68 TOPS) pL Sr7'P86$ SONICIOH SOd VSOWV TV
(97° 196'°FE9 PS) (28° L61‘6L7 I$) (00°007'8$) (L9°86£ 6PL$) 67 ¥00°696'ST$ ONI SAIDOTONHOAL IVA NV
(Tr es8'112$) (61 69¥'8S$) (00°ZS6°€$) (67 E87 FES) €¥'906°67L$ ONI SNUOMLAN NVdSUIV
(80°896'SEFS) (SE7ZEOZTS) (00°002'T$) (ZO'68r'0L$) pO LSO0'ZOS ‘TS ddOO SNOLLVOINNWNOD LANUIV
(12 PL0°L8$) (1S T£0F7$) (00° EL6 9) (OS SL0°FT$) 00°000°00€$ SOd ALVDUIV
(S0'6£'60S$) (Z5'66$061$) (0S 7L6'9$) (O1'89€'78$) TE 681SSL I$ ONI SAIDOIONHOAL LNA TOV
(1Z'720°L8$) (1s TE0'r7$) 00°0$ (OS 8L0°FI$) 00°000°00€$ ddOO FYVM.LAOS ATIOV
(er'L98‘SEz$) (0Z'616'€0Z$) (6L'061 I$) (86°79 6I1$) EV LEOSHS‘7$ CLT WOO AONADV
(16'6¢9'F 19S) (95°9¢9'691$) (EE E89 PTS) (10°6L£'66$) OF SLO LIL ZS ONI SAALSAS UAHLIV
(OZ PST 8IZ$) (pL'S€e09$) (OS B16 CIS) (61887 S€$) IE6S61SL$ ONI SAONAIOSOI VUVTIOV
(PL BEC OFES) (IL'676'€6$) (06 P9189) (oC Lz0°Ss$) OL I8SZLETS ONI SYYOMLAN GALVYATIOOV
(€Z'OF6'98S$) (86'886'191$) (00° ZZ0°7$) (6L'868'F6$) 86907 T70'7$ ONI SNOLLATIOS ZL

(OS6‘P80°0LIS (96°9SS‘Tr6'9rS I8I0.L) | (SO'cEs‘EOE TS 1X01) | (OOOOOS'LZS 18301) | UOHEUsISaq [BIO], Jonss]
[¥30,L) S990,q Jo uonBIOTTY | sosuadxy Jo uOTedOTT Vy SpAeMY VUISd sasuedx]

DOD Jo uonesoy

 

 

 

 

 

 

¢ LISTHXa

 

(SVS) 76 OW IZ ‘ON NOLLOV TIAIO
NOLLVDLLT SALLIEN OAS ONTAYAAO OITINd TVILINI FY NI

 

 
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(88°91 9TT$) (L9°650°7£$) 00°0$ (L9'T8L'81$) 1€0Z7‘00$ ddOO NUNLIW VLVAG
(L7°689°OrT$) (g9°8Z8°8¢$) (00°SZ9°7$) (6 LPL 774) 86 I7LP8r$ ONI SAIDOIONHOAL NAATVG
(26° €7O°LI1$) (OC LEZZES) (6L°SLS‘8$) (68'026'81$) L8'981‘E0P$ dO AOUNOSUAAAD
(6 €16°0S8'T$) (95° 1€801S$) (oo 0S ET) (€6°297 667$) EO IZO'LLE'O$ ONI HLVd ‘TVOLLRIO
(L6'088'869°2$) (LU198°FFL$) (49°99¢'019) (£9°SOE‘9EFS) €6'PSS°867'°6$ ONI dNOWD SNOLLVOINNWINOD GCVA0D
(65'098°989$) (68°S9S681$) (00°00S°L$) CC PSOLIT$) EL 99P'99E7$ ONI SNOLLVOINNWINOD ANISOO
(6¢' PLL‘0L0°7$) (QLO1S‘ILS$) (€€°€89°OE$) (6018 PEES) TE91SPELLS duOD SIAWOD
(96° 9FE09TS) (86° €S2‘Fr$) (S7270'¢$) (ZS°SZ6'S7$) SE6PY'CSSS ONI OFYOO
(LE°S96°€ZZ7'TS) (06'008°LEE$) 00'0$ (pS°S68°L61$) 80'PL6'9IZ'P$ ONI SYMOMLAN NIVINNOW WaddOO
(p8'8SE‘Lr7$) (67° 897'89$) (OL LL €‘Z$) (¥6°€66'6€$) 19° VET TSBS ONI SHIDO TONHOEL UNDNOD
(11 6FS‘SST$) (€8°626°7F$) 00'0$ {(6L'6PL'SZ$) ZL GIO SESS CLT FAVMLAOS HONOLWINOO
(86'6F0°S0£"E$) (80° 1°T16$) (cece eg) Cir eLevess) PS TIOLSE' TIS ONI ANO JOUEWINOO
(CU LOZ brR$) (6L 166°CE7$) (pS TEs‘1$) (IL P6'9E1$) 61'8L$°806 ‘C$ ONI SMUIOMLAN LTVEOO
(QO'L8r'Srs$) (OF 8rS"OST$) CEU T9S"TS) (€5°961'888) 96'L8E‘6L8'1$ (SIAVC-ddIZ) SYPYOMLAN LINO
(1Z'PL0°L8$) (1S T£0°rZ$) 00°0$ (OS'8L0'F1$) 00'000°00€$ ONI AOUWAANINOO MOTO
(SS TE7T9Z$) (00° €LE°CL$) (os cer's$) (29° 86E CPS) ZITOLbE06$ duOO LNTYW1O
(SS°ZPLELZ$) (06'6PS°SL$) (00°000°1$) (LL'6S7 ¥b$) LE'SELEVES ONI FUVMLIOS LNVIGUOHO
(LO TPS*LOTS) (89° 7ZE9F$) (OS'S 1F'9$) (pr LELLZ$) PoPLTBLS$ SNOILVOINQWNOO ANO ADIOHD
(€8°€18°980'°1$) (SS'8¥6'667$) (00'OF TTS) (TEOTL‘ELI$) OL Orr PEL es duOO WOO'WNIHD
(TEB6E"EZTS) (9S°9S0'r eS) (00°000°0T$) (@o' 186618) 6L'8PL‘SZH$ OANW UOLONGNOOIWAS CAYALYVHO
(L7°89S5'127$) (8E0S L199) (OS €169) (Zo'rz8‘se$) SE LLEEDLS ONI PUVMLAOS VALLNAO
(P9'8PS ILLES) (OC €FS‘ZOTS) (00°000°L$) (pr'€L0°09$) EL OL O87 I$ TVNOILVNUGINI | YeRRIVO
(ES B6L'8LE$) (OT PPS ‘FOTS) 00'0$ (8S°S+7'19$) €9'LB80°SOETS duOo ANIGUNAL ANOLSdVO
(1Z'PLO°L8$) (1S 1 £0'F7$) (00°000°0T$) (0¢'8L0'F1$) 00°000°00€$ duOd SHIDO TONHOAL UddITVO
(Of 10F'F19$) ($6°L9S‘69T$) (LE°8L7°7$) (T8°8£E°66$) €8°618 9117S ONI SOWAWWOO ODITVO
(OL T9E961$) (OS €61'bS$) (00° ZEL'7$) (pr Spe‘ 1c$) Ip'0€S‘9L9$ ONI SWALSAS VUFATVO
(80'€S6"0ES'T$) (SO 9TS‘7ZPS) (0$°696°6$) (BP O€S LCS) LS6P9'PLE'SS ONI MOTAEHOVO
(19°96L‘Z6P$) (6£°900°9€1$) (00'0SZ°9T$) (82°LL9°6L$) Lv'0S8°L69'1$ ONI WOO ANE
(ZE'098"brES) (29 LLL S69) (00'000°Z1$) (9¢°8SL's¢$) 90'09T ‘88 EIS duoo AMVNOSA
(LZ'E"S‘OTTS) (ZL'80S‘0€$) {oo 001 ZI) (LO'€L8‘LT$) $8°8S808E$ ONI SAS WWOO ACVOOUd
(r6'C97LI ES) (Z¢°198°L8$) (g8°€09$) (8r'967'1S$) SZ 180°€60'1$ ONI SNOLLNTOS AVA VAVaNd
(12'PL0°L8$) (1S 1€0'P7$) (00°00T I$) (OS 8L0'F I$) 00°000‘00€$ ONI DNILINSNOO NOVY

(0S6‘FS0OLIS (96°9SS‘THE‘OFS [830L) | (SO'EESCOETS 1830L) | (OO0‘OOS'LZS 12IOL) | UONEUsISaq [v0] Janss]
1¥}0.,) Sao,J Jo uOlpBIOTTYV | sasuddxy Jo UOBIO]|V SpleaMy VUISd sosuedxy

DOD Jo uoywsory

 

NOLLVOLLIT SALLIMNOAS ONTAPAAO OLTEN d TVLLINI ZH NT

(SVS) 26 OW IZ ‘ON NOILLOV ‘IEAIO

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(Tr 90€LS€$) (09°719°86$) (88°¢S8"r$) (OL'OLL*LS$) SO'IPOTEZ TIS ONI LASAVNNIIVA
(17 PL0‘L8$) (1S 1€0°r7$) (98'r8P°L$) (0$°8L0°F1$) 00°000‘00€$ ONI SYYOMALAN SA
(6L'OLT SLES) (pS '86£ POTS) (00'00¢$) (O€ 09TL9$) Ly 0L7'€0€'I$ ONI SYYOMLAN ANTULXA
(8P'198°SSPS) (0L'718°SZ1$) 00°0$ (Lr SOL‘EL$) 0$ 96S ‘0LS‘I$ ONI ALISNALXS
(Z6'0S7 01¥$) (OL Pt EI I$) (0S 769°€$) (L6°0££°99$) SLUSP EV I$ ONI VIGSdXa
(80°08 1OFTS) (g0'rre‘Or$) 00°0$ (LOPES ETS) L9°6E9'E0S$ OAXa
(s1'ss1‘Lotg$) (£9 ELS 6Z$) {00'0L1$) (97 STELIS) ZI'S8L69ES$ ONI SNOILVOIIddV JONVHOXG
(17 PLO°L8$) (1S 1€0'FZ$) (SZ IL9'¢$) (0'8L0'F1$) 00°000‘00€$ ONI AUVMLIOS JA TOAST
(96'9L6°79@'€$) (Or'sPS“006$) (00° Z16°r$) (88°OLS°L7S$) 08'SSO'THZ TIS ONI SAOLA
(PO LEPSTI$) (87°619'PES) (00'0SL°E$) (81'187‘0Z$) BS ELTZEPS ONI XININOG
(Pe €9¢°L68$) (16°689'°L¢7$) (00°01 OTS) (8¢°SOT'SPT$) 08°€90°760‘ES ONI SHIDO TONHOAL FOVONA
(er Leo Les) (S3°SsLis$) (88°L66°7$) (S6LEE OES) Te HLY9H9$ ONI LNANOOTA
(@Z'8£0'F9€$) (1S OLr'001$) (6L°S1€$) (Z1'6S8'8S$) Iv vee ps7 I$ ONI NVOT-A
(LE'PET BBLS) (LO'SPLLOIS) (00°000°L$) (£9°69L'79$) SS'POSLEETS ddOO TWNOLLVNUALNI OLLIS TA
(Z0°090°L¢7$) (Z3°S81°89$) (88° cor 19) (€9°S+6'6E$) 80'S0Z‘IS8$ SNOLLVOINNWWOO NIVDA
(L6'660'°68Z$) (8S'PLL'6L$) 00°0$ (EL PEL OFS) 65 PL8‘S66$ ONI XNA
(COs S08 P7P$) (OF 1P7'LITS) (O8' PEG TS) (17'P89°898) LV'86S‘E9r'1$ ONI GUMH LUV
(OS'LEE FHZ$) (ZS PEr'L9$) 00°0$ (6r'S0S‘6ES) LL'978'18$ ONI ANVHdId'a
(9L'0S7'19S$) (86°868°FS1$) (00°000°S$) (2z'S¥L'06$) 01'869°EE61$ ONI WOO aNOLsoONUda
(SS 66F 0LE$) (OL ES7'ZOTF) (6L°S$90'F1$) (Z8°€06‘6S$) L8'S6P9LT' IS ONI WOO dood
(PS ISL'9v2$) (9°001‘89$) (00° 0r6'FT$) (SL'S68°6€S) 97 THI ‘OS8$ ONI NOITOATANO
(99°8£6°998$) (pr'o9c'6£7$) (OS LEZ LS) {€0'OL LOFTS) 00°968°986°7$ VSUAAIG
(€L°998°E7Z$) (€L'P8L‘19$) (00°000°S 1$) (S9°S619€$) E967 ILLS ONI SV.LIDIG
(97'68L'891$) (96°€8S°9"$) (0s°960°€$) (1$'06Z'L2$) I6'SES‘TSS$ ONI MNIHLTVLIOIG
(7 PL0'L8$) (1S 1€0'rZ$) (os's9e"s$) (OS'8L0'°FI$) 00'000‘00€$ ONI WAATY TYLIDIG
(98°7S0'Cr7$) (06°€08°99$) (Z£97Z0'8$) (SO'9E16E$) ZL ES6 EL8$ ONI GNV'ISI TVLIDIC
(S6'6£8'861$) (C9 LL8FS$) (88°€09$) (Z7'6F1°ZE$) 99°0L0°S89$ duOO LHDISNI TV.LIOIA
(Q191F €Sb$) (€BLELSZIS) 00°0$ (OVOLE ELS) ZI ILIZ9S‘TS$ ONI LOVdWI TVLIDIAG
(03°000°89¢$) (CV POS LOrg) (00°000°S$) (13°66 6S$) €8°988°L9T I$ ddi0d OUVWNIDIA
(El Orr SrZ$) (ZL'995°89$) (00'007°S$) (LL'891 OFS) 10'096°SS8$ ONI WOO 'ATYHLV LTA
(LUT¥6 TEES) (S6'Lb9'F6$) (OS Z26°€$) (LO'8tr'SS$) LO LOS‘ I8T'I$ duOO ADO'TONHOSL ONVTIG
(00°60£°067$) (90°22 108$) 00°0$ (67 8£6°9F$) 6€ T1Z000' I$ SOLLANAD AAOOAG

(OS6'PSO'OLIS (96°9SS'1 69S IFIOL) | (SO'CHS*EOC'TS 1410.1) | (000‘00S'LZ$ I¥}0L) | UOnBUsISEG [BIO], Janss]
]®10,) S997 JO UoKNBI0];y | sasuedxy Jo uOnBIOT;y SpleMY VUTSd sesuodxy

 

(SVS) 76 OW IZ ‘ON NOLLOV ‘TIIAIOD

NOILVOLLIT SAILIAN DTS ONTAATAAO OITIN d TVILINI Fa NI

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(06 IZL‘8ZZ$) (OL rZ1°€9$) (00°002"s$) ($9°086°9£$) LO'bZ0°88L$ SUC TOH TANLONULSVYANI LANAALNI
(PL O0L EF0'TS) (18°6'0'887$) (62997 1T$) (79 6PL‘891$) $6'006°S6S‘ES ONI dNOUWD) TVLdVO LANYALNI
(SEEN TOF TS) (SP'66r COPS) (00°000°S$) (yO P8E9E7$) ¥6'SZLLEO'S$ ddOO SAOIAUES WYOMLIN dVNUALNI
(19°867'L6$) (pe eS3'97$) (00°0SL°€$) (29 1€LST$) 7S 977 ‘SEES ONI SSAUdXA WOOFTAL CALVUDALNI
(SS618 LOTS) (90° 101‘87$) (os tsz'c$) (8¢°Z9%91$) L9'Z08‘0SE$ SINALSAS NOILVWROINI CGELVUDALNI
(8° 107 F67$) (1961189) C1UZF8$) (£9 L9S‘LY$) 96°7Z9ELOI$ dudOO GAMSNI
(OO ZL1°8S€$) (99°1¢3°86$) (00'096'1$) (SL'OL6‘LS$) LE STOPET IS dO SAIDOTONHOAL JONVUNI
(EL 9TEOLTS) (2Z'¥99'8t$) (00°207'I$) (61'60$°87$) ZO'SOS*LO9S dudOO ALYOANI
(17 PLOL8$) CIS" 1€0°F7S) (0S L6T°9$) (OS '8L0°FT$) 00°000‘00€$ ONI XVAROINI
(iz PL0°L8$) (TS 1£0‘r2$) 00°0$ (0$'8L0‘F1$) 00°000‘00€$ ddOO VOLLVAROANI
Cr 6rl TS€$) (Z6'pSEL6$) (00° €08°L$) (06 €£0°LS$) SIOPESITIS SXMOMLAN WAI LVSdAI
(IZPLO'L8$) (1S 1£0'r7$) (OO'SEr 1S) (0S°8L0‘F I$) 00°000‘00€$ duOO NOISYAWAI
(SL 1¥7°E9T$) (76°7S0'S$) (00°S99$) (LS €6£°97$) LOTP'ZIS$ ONI SDVNVI
(26167 OPTS) (10°61L8€$) (6L°S1€$) ($6°789°C7$) LOTSEESHS duOO DNILSVOdvOUd WVAdI
(SO'POL'LILS) ($€°8L0°861$) (gs'cos‘1$) (OZ 10°91 1$) SP TEL CLOTS ONI SISVAI
Cer Lee Fig) (79° BSS 1E$) 00'0$ (pI 88r'stg) pr'S96'E6E$ ONI SMAAOOH
OW SPE FSS) (€0'6£E°S7Z1$) (00 Ocr'z$) (L6'L7P' ELS) EL ESI PIS TS ddOO SSADOV dddadS HOI
(12’PL0°L8$) (1S 1€0'7$) (08 16S°6$) (OS 8L0°FT$) 00°000‘°00E$ ONI ONINdSANVH
(LO STP 167$) (g0'0¢ F‘08$) (00°000°S$) (pL SLT ‘Ly$) 19°LS0'P00'T$ WOOUTAL dNOUD LO
(81°99P°S9T$) (€8°999SrS) (00°008'8$) (2Z'€SL°97$) 8L'9800LS$ ONI SNOLLVOINNWINOD ORD
(1L°8€7 857) (TO'1LZ‘EL$) (6L°S1€$) (rO'€SL‘1F$) Ip'61L688$ ONI WO9'0.LOD
(13°SL7°9T7$) (ZL°689°6S9) (00°0S2$) (Z€'896'°FES) 60 EP 'SPL$ ONI NVdSddOTD
(97669 ET LES) (pL'6£6'F70 I$) (OT 8ISSTS) (tr St¢r'009$) 80° 966° F6L TIS DNISSOUD TVEOTD
(¥9°€L0‘0bL'7$) (63°6Z7°9SL$) (007071 $) (78°SZ0'EFr$) oS LLY Orb 6$ VIGAWVDID
(Ol'6L8°760'1$) (6779 L0ES) (00°S28°9$) (L6'00L‘9L1$) B69EE SOL ES ONI SHYOMLAN XOOZAVD
(LVS67' tS °2$) (Z1'SOPPOLS) (L9°97L'1$) (L0°S99°ZI¥$) Ov LIS E6L'8$ ONI SLOIVWAAUA
(S8°C6E° TILES) (Lp'6LS°F20'1$) (LE°690°T$) (9¢ PETZ‘009$) 7S BPr06L‘Z1$ ONI SYUOMLAN AYGNNOSA
(Z6' P97‘ E07$) (98°860°9S$) 00°0$ (L9'p98‘CE$) OZ 9TEOOLS dudOd SNOILVOINNNWOD T¥904
(67 097'F LES) (s¢'ZeL‘98$) CLETLE TS) (€8°018'0S$) 99° ZEL‘Z80'1$ ONI SNOLLVOINNWNWOD LANHSV TI
CIP ELT ELRS$) (09°696'06Z$) (00°096°L$) (6€°89TTPT$) 80'OLT'800'E$ ONI GNOdaaIA
(LE 6LLETZES) (1S'6S£68$) (LV'6L$) (16'6PE'7S$) 60°6ZS‘ST1I$ duo UVSINIA
(19° 8+8'607$) (68°SI6LS$) (ZE9LLT$) (Pl '6C6°E€S) £7666 TCLS WOO NIVUALVA

(0S6‘PS80‘OLTS (96°9SS'Tr6‘OFS 1830.L) | (SO'E6S‘COETS 12101) | (O00‘O0S'LZS 1830) | UONBUsIsag [¥}0], Jonss]
[¥}0,,) 899, Jo UORBIO]T Vy | Ssesuedxy Jo UONBIOTTV SplvMY VUISd sasuedxy

9D Jo uonvooy

 

(SVS) %6 OW IZ ‘ON NOLLOV TIAIO
NOILYDILIT STILIMN OTS ONTATAAO DITANd TYLLINI Fa NI

 

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DOD Jo UOHBION'Y

 

 

 

(€£$ 0681S 7$) (LLOLL'PZ1$) (OS P6S°L$) (€r'e90'€L$) ETSIE OSS TS ddioo WOO 'saIVOW
(81°Z96°00€$) (2Z'790'€8$) 00°0$ (pL'099'8F$) LV'916°9€0'1$ ONI NADAXVI
(72° 88°609$) (Pe'11E'8918) (00° SoL'r$) (59°709'86$) SLZEL LOL Z$ ONI ENOXRALVW
(R16L0LTES) (67'66¢°L8$) (OS LEZ$) (r1'097'1S$) 88°90€'760'T$ CLT dNOUD ADO TONHOAL TISAUVN
(86'079'681$) (8Z'E£E°7S$) C1 116°@$) (99°859°0€$) OZ BOE*ESIS ONIAIT LUVMSLS VHLYVW
(£7 S¥8'°$79$) (Pe'OSP'CLT$) (Or L97F$) (Zr LZ0'10T$) 6b 7O8‘TSI'Z$ ONI WOO HOLVMLESAVN
(97 ¥19'PZL$) (6P'S86'661$) (SE 16 TIS) (LSSTLITS) EP OPS 96h 7S ONI VENTE
(6€'€69'781$) (S¢1zr'os$) (OOZES 'F$) (BS 8ES'6Z$) Ie Orr‘6z9$ GL SHOIAMAS SUIUNLOVANNVAN
(89°88S‘1S7$) (89'S £6699) (00°9¢8'F$) (p3°LL9'0F$) $8°L08'998$ ONI SAIDOTONHOAL JATGNOT
(ZL°600°9¢€$) (S6'PEL'C6$) (OS Z8S91$) {LOLTE ¥S$) LLOOO'LST‘T$ CLT LYVWSAOOT
(or 0zZ0'ss¢$) (85°08S°¢Z1$) (ze'97s$) (8P'69S°EL$) 1L'869°L9S'I$ ONI OIGNY GINOII
(IZ FLO'LS$) (1$°1¢0'rZ$) 00°0$ (OS'8L0°FI$) 00°000‘00¢$ SAIDOTONHOAL FOAIMENOIT
(17 PL0°L8$) (1S 1£0'r7$) (OS 168°6$) (Os '8L0‘r1$) 00°000°00€$ SAIDOTONHOSL ALVUAIT
(12 PLO'L8$) (IS 1 £0°r7$) 00°0$ (0S 8L0°F1$) 00°000‘00€$ ONI LNAXAT
CZ PLO'L8$) (1S TE0'rZ$) 00'0$ (OS '8L0°F1$) 00°000°00€$ ONI SNOLLVOINNWWOO AGNLILV1
(OL 8cr'cees) (SL°0£0°26$) (Ee CeC°9$) (Z8' PIG ES$) 6L'SLE'SHLI$ duoOO ALNVT
(so'crs‘OLE'1$) (T1'€66°6L6$) (8h SSe'Es) (IZ E19°C7Z$) 80°S89 EPL v$ LINNQYHL VaaON
(LZ 1$6°697$) (SS EOS FLG) 00°0$ (8L'9P9'Er$) OT ELO‘OE6$ ONI SWALLSAS ALONATNA
(68°98L°69L$) (€9°ZSr'C17$) (Ce19LFI$) (SEZ9bbZ1$) LESLUZS9'CS$ aYVAM.LIOS VNVI
(90°£09°L94$) (76681 17$) (09°96T0T$) (90°601'F7Z1$) ve 1S9'pP9'cs$ SSYOMLAN Usd INN
(LL'1S9'S1Z$) (67 LIS'6S$) CU TITT$) (Zp L98°FES) $0 €66'7HLS$ dadOO INL
(LL'681‘S6L$) (pS £9F'617$) (00°000°1$) (6£°69S‘8ZT$) L8°969°6EL‘7$ TALZZVE
(EL '6LU TLS) (EO LSLETTS) (00° Pr9°Z$) (€8°Z¢9°99$) €1'8600%r IS ONI SASTUCUA.LNA TX]
(€ZLSZSS6$) (6€ 0F9°€97$) {(00°949'r$) (EL 6rr PST$) St EST 167 ES ONI FOVTIIAI
(P8781 9S¥$) (OP 106°SZ1$) (os esP°sI$) (er LsL‘eL$) 69 COLTILS TS dxOO OXI
(12 ¥L0°L8$) (1S 1£0'r7$) 00°0$ (OS 8L0'FT$) 00'000°00€$ ONI WOO LNIUd!
(v0 £9FOLTS$) (06'S 0'L+$) (Lg'°8L0°€$) CEL 196‘L7$) E9'ZOELESS$ ONI UVM VULLNI
(68°9L 16%) (pL°618°97$) (LOE 11°79) (pO 11L‘S1$) LULOSVEES$ ONI NJAOMUALNI
($6°€98°66¢$) (06°9S6°LE1$) 00°0$ (96°618'08$) v8 661° 77L'IS SNOLLVOINNINNOO JAVMUALNI
(SL°8S6'0P8$) (L7'$60°CE7$) (00°67L°1$) (0S 696‘SET$) pr 98EL68'7$ duOD SAIDOTONHOAL LSNULUALNI
(LLZZE098$) (€S'6erLEz$) (00°0S0°9$) (SCOOT 6E1$) €0°ZOL¥96‘°7$ dudOO TISUALNI
(88°LLS°L91$) (€9°6P7'9¥$) CQUTIVI$) ($9 P60°L2$) LEZIELLS$ NVdVf SALLVILINI LANUALNI

(os6‘r80‘0L I$ (96°9SS‘Th6'9FS 1830.1) | (So'ceS‘COC'TS 12301) | (000‘00S‘L7$ 1890.L) | UOHEUsIsag [¥j0], Janss]
{¥}0],) saaq Jo uoRNBsO];Yy | sasuadxy Jo uoIBI0];¥ SPABAYV VUISd sosusdxy

 

NOLLVDLUT SALLIMNOAS ONTAPAAO OITINd TVILINI Ta NI

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(17 PL0°L8$) (Ts 1€0'r7$) (OS Z1FS$) (OS °8L0‘F1$) 00°000‘00E$ duOO ANSINWO
{O1°600°801$) (T£°608'67$) (6L'S1€$) (eceor'L1$) SLLZI LES ONI SNOLLVOINNWAIOD FONVAN
(ZE°8S8°T6S TS) (0% 119°6Eb$) (00°SL8°11$) (95° 6ES°LSZ$) 86 EL6°LEP'S$ ddd SNOLLVOINAWINOO LNIOdHLYON
(€5°090°898$) (90°SLS“6£7$) (6L°S9S"F$) (tr se‘Orlg$) 61192066 '7$ dadOo NIN
(8L°€98°98¢$) (1TOLL°901$) (00°208$) ($9°6#S°79$) SL 9L8°ZEETS ONI SUANLUVd TALXIN
(EZ OLELSS$) (svese’est$) (9°89 C$) (p6'P£1'06$) 8S'€69°076 I$ ONI CUVOLXAN
LOLST GPE TS) (ZO'O8£ETLE$) (LU 6ZEES) (61 ES 1817$) 17 949'°8h9 PS SNOLLVOINNWWOO TAA LXIN
(ZSOSS E6€$) (LS°S19°801$) (00°02 T'7$) (6L'0€9°€9$) CT PIOSSETS ONI SNO0A MAN
(PL LL9'S78$) (88°LL8°L72$) (00°000°01$) (18°86r'EE1$) 6 SEL PPS ‘7$ ONI OWAZLAN
(9€'006°60€$) (90°675°S8$) (00'00S$) {06'S0T0S$) ZT IILLOO'TS duOd SN 1d TUOMLAN
(1Z°S827'0S2$) (p6'$L0°69$) 00°0$ (60° L9F OPS) POOLE Z98S ONI SANIONA WYOMLAN
(EO Tes ‘ZIT$) (p7'090'1 €$) (SL'LT1°9$) (LV'961'819) 98 EPL‘L8ES DNI AA TOSLAN
(12 PLO'L8$) (Is Te0'r7$) (0$°600°9$) (OS'8L0°F1$) 00°000‘00€$ (HOAL WOOISO) ONI NOOITISLAN
CLE TED LSPS) (OV 18S‘PET$) 00°0$ (O€ Zr8"8L$) ZL'LSO089'T$ duyOO OUWLIN
(12 FL0°L8$) (TS t€0'rz$) 00°0$ (OS 8L0°PI$) 00°000‘00€$ ONI SONILVULLAN
(17 PLO'L8$) (iS 1£0°r7$) 00°0$ (OS 8L0°F1) 00°000‘00€$ ONI SAALLNADLAN
(89 Cc Pres) (TVLS0°S6$) (USEC ES) (LL'L89‘SS$) OL'SS9'98I IS ONI ANOHd7LYN
(19° £02 TERS) (6C' 17+ 6119) (00°566°1$) (1Z'196'69$) 7860806 I$ ONI SNOILVOINNWINOD 0007LIN
(ST LEG 0ZP$) (QLOLV9TI$) 00°0$ (Or'090'89$) OZ'SOE‘OSF'TS ONI SNOLLdAOUdd LAN
(yL'61S‘819$) (TP POL‘OLTS) (€E91S Z1$) (6$"¥00°00T$) 66°900°TEL‘7$ ONI WOO VWWYOIOAN
(OES LP SEES) (06°0L5°26$) (o0°0¢9°1$) (97 1£2'pS$) O8'BI9‘SSITS ONI ALISIAVN
(00°608‘ZEE$) (65° 168'16$) {00 €8E'7$) (98°608°€S$) TT 6E9'OPL TS ONI WOO XSLTAW
(79° L16' bb TS) (61 18L°86£$) QUT T$) (76619 E€7$) $0 8@Z'8L6'b$ ONI WOO’ ed
(08°866°982$) (8P'807°6L9) (00'S# EES) (60 €Or‘9P$) ¥9'LO8'886$ ONI NOSAL AddOd ‘VIGAW WaGOW
(83°LEScgcg) (L6°98+°90I$) (6L°S1E$) (SL E8E'79$) 6S 1PE6ZETS ONI ANN.LOWOIN
CZ PLOLE$) (TST €0°FZ$) (00° rr9°7$) (0S 8L0°F I$) 00°000‘00€$ duOO SNOLLVOINAWINOD AAVMAV LIN
CL‘ TE8"6ES$) (96°L86°8FT$) (00°S@r'1$) (OL'Z87°L8$) S7'7Z06°6S8' I$ ONT A'IOSV.LENW
(6S EL1‘79Z$) (00° LSEZL$) (05°266'1$) (S768E7r$) €r'9L7E06$ SUCTOH LANYALNI d7d HONAT TIRRIGW
(LO'OLS'IFT$) (Zr €L0°6ES) (88°€09$) (L5°068°77$) OL LLL'LEF$ ONI AdVOSCAW/ONI DIDO TYOICAWN
(€z°109°PL€$) (g2'S8E°EOTS) (6L°840'T$) {66°995‘09$) 95° LZ9'067'I$ ONI XA Td VICI
(OVLSTCII$) (ET PS60E$) (00°0Sz'8$) ClO PEL‘S TS) C761 P 98ES ONI SNOILVOINNWNOD SOW
(1O'L¥6°EZT$) (00°802‘FES) 00°0$ (eZ 0F0'07$) £7 6EOLZHS (daO OWa)duOD VIVGOW

(OS6‘P800LTS$ (96°9SS‘TH69FS 1810.1) | (SO'EES‘COSTS 1230.1) | (00000SLZS [FI0L) | UORBUsISEg [BIOL Jonss]
1¥}0]) S29 Jo UOIVBd0];y | sasuedxy Jo UOTBI0TTV SPAVMY VUISd sasusdxy

NOD jo uoyesoiyy

 

 

(SVS) 26 OW 1Z ON NOLLOV TIAIO
NOLLPOLLIT SULLPINOTS ONTATALO OITENd T¥ILINI FY NI

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(06'816°LtT$) (L6°€78'0F$) 00'0$ (1T916°€Z$) Os 0£9°60S$ ONI TUVMLAOS LSANO
(p7' 69 9TES) (66 1VEL8$) (49°990°7$) (86° LOTIS$) EZ EVE 060'IS ONI WOO OUdaASVHOUNd
(1 PLO'L8$) (TS T€0°F7$) (00°6L7°6$) (OS 8Z0°F1$) 00°000°00€$ ONI SHIDO TONHOAL ISd
(96°586'19T$) (€£90L rr$) (00'r8€$) (ZS'061'97$) 97'960°8SS$ ONI SAWALSAS ADYANA NOLOUd
(Z1'ZS9'060'T$) (L8°L00°10€$) 00°0$ (06 OFEOLTS) BT POOLSL ES duOO SNOLLVOINNWWOD ADICOUd
(OT 0£# F6$) (69°190°97$) 00°0$ (p8'L97'S1$) 88 EVE STES ONI SNOLLN'TOS FOGATMONA SNWId
(98'SPETIO'9$) (6S OFE'6S9 18) (L1'8L6 19) ($§'660°CL6$) TILES PILOTS ONI WOO'ANITSOMd
(88°90 0£9$) (Q€'S86°ELT$) CLUTIT TS) (S$9°9C6 LOTS) ST HIG ILI ‘C$ ONI SWALSAS MAIATd
(EL 108°9¢7Z$) (LEPIL'89$) (00'000°0T$) (LL°€06°6€S) IVETE OS8$ ONI SWALSAS AALLOICGAUd
(SL661'S#S'1$) (18° Ls¥'97 FS) (COS Z8C'F$) ($8 C£8 67S) OL CELETE'SS ONI TUVM.LAOS TY LWOd
(66'850°€17$) (Z6'108°8S$) (0S 608'F$) CZ 8rr'res) 90°090°FELS$ ONI WOO XULANV Td
(L090 ZS9$) (€0'bL6°6LT$) (09°769'9$) (90'Strsolgs) OE SZL‘9bT'7$ duOd SWALSAS LOWAd
(SLILEG8TS) (OS P97'7S$) (00°0SZ7T$) (9€'819'0C$) IS 6PPTS9$ WOO YWaddood
(LE1Z9GOTTS) (LV ErC90€$) 00'0$ (Z6'LOF'6L1$) EL'6LOETS‘ES ONI SYMOMLAN ANACVUVd
(€E°1T$°686'18) (6L'S80°6¢S$) (€ee£6'€$) (65° €L9°1ZE$) BLILS‘*bS8°9$ (duOO WOOD)ONI WIvd
(OL €8S°6L7$) (66° 191‘LL$) 00°0$ (61 P07 S¥$) O1'097€96$ ONI WAWOOFU TEL LSAM-OVd
(89° PTS E0E$) (pr'69LE8$) (OP TIL’S$) (90°SL0'6¢$) L8'PPLSPo'l$ ONI WAALIAOVd
(SL°790°9Er$) (SP 8rEO7T$) (08°Z¥8'°9$) (€e'POS‘OL$) OZ E8EZOSTS LANYALNI O1IOVd
(65° 0Z9'SZE$) (99°98°68$) 00°0$ (19 L49'TS$) LL'7L8°1Z1 1 ONI TAVM.LAOS O.LO
($0'098'F87$) (TZ'819°8L$) (OS'S 19°6$) (6Z'LS09r$) €6° SEP 186$ ONI OINVDYO
' PL0'L8$) (1s 1€0F7$) (00'08"€$) (0S 8L0‘F1$) 00°000‘00€$ ONI SADNAIOSOIA GIHOYO
(PS CrO'E1Z$) ($9 L6L‘8S$) (00'0$7°9$) CIL' StF PES) 18°900‘PELS$ ONI SNOILLNSIAYSLNI OFLVUO
(OL SrECOTS) (87° 9P7'87$) (00°¢49$) ($9 L¥S‘91$) py SI9CSES ONI VARIVHdVaO
(SL'LL6‘S6$) (6L°88¢'97$) (L9°0L0°6$) (90°81 ‘S FS) TL'SLO‘OCES ONI TUVM.LIOS OLLdO
CI 18Z° Les) (€T016'S8$) (00°0S2$) (SU6ZE'0S$) BE 89bTLOTS ONI SNOILLVOINNWNOD SNITdO
(E091 8FZS$) (6€' CSE I$) (L1'678°S$) (TE'PS8 P8$) 91891 ‘8081S SWALSAS JAVMNddO
CLE£9S‘OrZ$) (61 LEE FOZ$) (Z£°97S$) (ULEL‘6LTS) 6S 68h ISs‘7$ (G.LT HIWdadOo ALNAdO
(1Z'PL0°L8$) (1g 1€0°F7$) (00°SL8°S$) (0$'8L0'°F1$) 00°000'00€$ duOO FUVMLAOS XANO
(Lr'9P6'98L$) (SP 8BLLIZ$) (ee cee eg) (8S 9EZ7‘LZTS) 76°S67 LIL7$ ONI WOO VIANO
(TS'SsO'LIS$) (p9' SPO LPT$) (os'S60°11$) (SP'629'78$) SS'BSL OSL TS duOO SWALSAS INO
(97 €£9'T7H$) (80°7r9°911$) (OS 2Z8°9$) (00° €€£°89$) B0'VIT‘OSH IS duOD YOLONGNODIWYS NO
(69°SET007$) (ez sec‘ss$) (0S 9#0°7$) (ZL'8SECES) €6'VES 689$ ONI SAIDO'IONHOAL NOISIAINNO

(OS6'FSO'OLIS (96°9SS‘TH6'OFS [BFOL) | (SO'E6S‘COSTS 1839.L) | (000‘00S‘*L7$ [8IOL) | UONEUdsaq [v0 aanss]
[¥30,L) S99,7 Jo UOLWWIO[[y | Sasuddxy Jo UONBIOTTV SpqvMy VUISd sasuadxy

DOD Jo won], y

 

NOLLYDLLUT SHILIAN OAS ONTYTAAO OITENd TVILINI ZY NI

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DOD Jo woyBsoiy

 

 

(¥0°S87'9S9$) (SE°LZEI8I$) (o0'oss Ors) (€LOLT90T$) PT ETL 19 C$ ONI SNOMLIN VIGEWRIV.LS
(el pzs'00z$) (€z'szr'ssg) (pr SLIP) (£0'OLF TES) 68°906'169$ ONI WOO'SdNV.LS
(87'996'°C1S$) (OO ELSI FIS) (00 r0r'z$) (Or 8£6°78$) OS TPELOL'TS WALSAS ONILLSVOCVOUd HSINVdS
(OT OLE E7$) (69° L¢9‘T9$) (8ETOS‘OTS) (LESTE9ES) S9°S8S‘69L$ ONI SYYOMLAN SANOS
(TZ PLO'L8$) CS TE0'rZ$) (LV'62$) (0$°8L0'F1$) 00°000°00€$ ONI TTVMOINOS
(Te PL0'L89) (1S T£0'P7$) (00'000°€$) (0S'°8L0°F1$) 00'000°00€$ duOO OLWS
(Ov'087'9ET$) (88° 119°LE$) (00°000°1$) (S€'peo'77$) 76 LES69P$ dudOO ASIGLUWWS
(1Z'PL0°L8$) Cis T€0'r7$) 00'0$ (OS 8L0°FI$) 00°000‘00¢$ SADIATAOUSIN VZNAUIS
(L1'¥66'817$) (96'6¢¢'09$) (847061) (€3°LOF'SES) PL'80SPSLE$ ONI FAVMLAOS WVAULSUAA IS
(€6°L8L'€67$) (17°780°18$) 00°0$ (82'00S°L¥$) BY 86T'ZL0TS ONI SATUOLVYOAV I NOOITIS
(L896 €07$) (Z¢9P19S$) 00°0$ (LY768'7E$) 79°806‘00L$ ONI SOV NOOITIS
(6S 08 SFE TS) (Z0'S9Z‘ZLE$) (88°€09$) (Z83°S80°8T2$) EF OZ LEOFS ONT WONANOAS
(S1°Z£0'806$) (6£°909'0SZ$) (00°007°L$) (61 vI8‘9rT$) 76 OLP'STI'ES ONI WOILOA TSS
(S9'190°L6€$) (09 P8S‘60T$) (00°07 T$) (8P'861 69S) ST TLOB9E TS ONI WOO -LSANOIOS
(6L'€06°L71$) (eoo0e S$) (00°SLr'1$) (86°6L9'07$) 89 1L9‘Obr$ CLT AVMOANI WVALVS
(8r'S01‘E6$) (80°969°S7$) (00'000°0T$) (99° €S0°S1$) OL 6LLOZES ONI FYVM.LIOS VAVS
(OL'Z16'8ST1$) (91'8S8°¢r$) (61 O£T TS) (9° €69'S7$) €0'°80S ‘Less ONI WOOFMO'U
(ZO'9SL°S6S'°Z$) (€3°66E°91L$) (00'000°s$) (66'169°61¢$) IL vSZEb6'8$ SNOLLOANNOOLAN SWHLAHY
(Z€°66S'871$) (86° 16'S ES) (08° €¢8'7$) (er'Z6L‘07S) 10°890'€hr$ (ONI TUVM.LAOS ONH)ONI NELIY
(6C'0S7'ZOT$) (46°61 87$) 00°0$ (po ZES°91$) 90° L87‘7SE$ ONI ALVNOSHY
(1 ?'690°£6$) (Z1°989°S7$) {00'0SL°1$) (€8'L0'ST$) 1$'SS907ZE$ ONI SHIDO TONHOSL UALVAdTS
(60°6LP'S9¢$) (90°L9¢871$) (ZE9P8"C$) (8¥'097Z'SZ$) Iv'ZEL*E09TS ONI WOO UALSIDTU
CLO'E6STIT$) (EP 86L‘0£$) (000067) (6L'7¥0'81$) ES SLY'PSES ONI SNOILVOINNWNOOD LNADTY
(09°€10°66$) (99'9ZE'L7$) (00'000°€1$) (16'300°91$) STSEL TPES sdaad
CS Lie Li Vzs) (98'LZL‘78S$) (8L'0r0'7$) (67 CSE TF E$) LTOVS' PLT LS ONI SHYOMLIN WOVACTA
(S3°719'°8ZP'7$) (LV'OLZ'0L9$) (87061 TS) (9°L99°c6€$) IT06€L9E'S$ ONI LVH Ga
(LP LPP Eos) (pe'sos*ssT$) (0S OLL°7$) (6€'00T‘16$) 1S°997'1P6'1$ ONI HSITYOZVU
(OZ'8TS°SETS) (87 POF LES) 00'0$ (€L°ZL6 12S) €£ 076 '99%$ ONI SHIDO TONHOAL LNASIAVY
(08°987'16$) (pT p61 'S7$) (LS°8Z0°1$) (19°6SL'F1$) Is EIS‘p1es CLT FUVMAVe
(PS 7Z6°LIZ$) (OZ rr I‘09$) (6L'S90°7$) (LE PET SES) Z9' OTS OSLS YOO SNOILVIINAWNODS VOINN OIdva
(£3867 COIS) (€€°60$‘87$) 00°0$ (9102919) O£ 668'SSES NI ANO O10VuU
(Z3'SE6 6119) (61°860°€£$) (Sc 0ZE'1$) (0'06€‘61S) 68 P81 El HS ddOO DIDOTADINO

(0S6'F80'0LTS (96°9SS‘TP6'9FS 18IOL) | (SO'CES‘EOSTS IHIOL) | (000‘00S‘LZ$ 1%30.L) | UORBUsISag [BO] dJonss]
[¥}0L) s9aq Jo UOLedO]|Y | sesuedxy Jo uoIBIO][V SspueaYV VUISd sesuedxy

 

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(¥8°Z18'69S$) (ZO'Z9TLST$) (S9°6S8°€$) (LS°6Z1°76$) 9ELEVE96 TS dudOO OWLNAA
(ZO' PLP ST Z$) (br 89%'6S$) (00°000°7$) (89° 8€8'FE$) SO O8E'THLS ONI SOINADVRIVA
(L7°709°96S$) (09°SS9'FOT$) (Ze'97S$) (66'09¢°96$) 66 S6r'SSO'TS$ ONI VORIEWY ANTIVA
(1Z'PL0°L8$) (1S T€0r7$) {00°000°r$) (OS 8L0'FT$) 00°000°00€$ ONI VIGSW AATIVA
(1Z'PL0°L8$) (TS TE0'#Z$) 00'0$ (0$'8L0'r1$) 00°000‘00€$ ONI LYSOLIVA
(Zt S$S0'69'Z$) (LE6TSEFLS) (00°OST'S7$) (tr'sss‘serg) 87676187 6$ ONI SNELSAS XNNIT VA
(97'967'018$) (LL'ZE9°E7Z$) (00'0SL°T$) (LE T1OLET$) 18 EbL 16L‘7$ ONI WOOUVLISLA
(1L'68S°8P0'7$) (TO'S8E'sosg) (g8°€09$) (00° P77 1 €£$) 8Z'780'°8S0°L$ ONI ONITYOMLANYALNISN
(ZZ'886°L8¢$) (yr'080°L0T$) (os OES°L$) (Sr TeL'79$) PTOSLEE TS AN WAWOO dd0uNng-NVd GALINA
(18° ELEOES$) (87 LLEOFTS) (00°008"6$) (16°ZSL°S8$) ID OTELZSTS$ TVEOTD SxvN
(OS LST1L8$) (18°67 0F7$) (6e'8SL I$) (91'ZS8‘OrT$) TS LEP‘ LOO'ES ONI SWALLSAS LOL
(86° €L5°666$) (TE 1L8°SL£7$) (00°66F'L$) (€0'ST919T$) 8E'698EPP'ES ONI SWALSAS ANOLSNUNL
(L8°8S"187$) (ZVLOL‘LL$) 00'0$ (ps €ZS‘Sr$) ¥7'S90'0L6$ ONI SWELSAS NYOMLIN NOLRLL
(8'90r'072$) (FL'678'09$) (8E°Z0S$) (8199'S ES) TIPLE SSLS dudOO VLAWSNVUL
(SL°Z9SC6E$) ($6°819'°801$) (00'009°9$) (LL'7E9E9$) BEOSE'SSETS ONI OALL
(1b €rs‘L81$) (06°6SL‘1S$) (00°000°T$) (SLC OES) LTOST'9P9$ SHIDO TONHOAL LNIOdDNIddI.
(EL'7Z198T$) (T3°L9ELS$) 00°0$ (S0°€60‘0€$) SSSSTIH9$ WOO'SLANOLL
(STTES Z8L$) (16°696'S [Z$) CU 112 '7$) (OL @7$‘9Z1$) L9°€80°969'7$ HOUVASALIO-“ANI'INO WALSVALAMOLL
(€0'SET‘OLT$) (PI'Z19'8b$) (SZ 1L7°9$) (69°8L¥'87$) 16'PS8'909$ ONI RUVMLAOS OOPIL
(98° 708°Z19$) (PEL71°691$) 00°0$ {69°080°66$) LEGIE TIL Z$ WOO LOFULSAHL
(8¢SeS‘Lt6$) (61 ¥S8'6S7$) (162L'¢$) (PO TEZTZST$) LELIGEPT'ES ONI WOO 'AEOTOSHL
(6S Ps P'E7S$) (S9'LObFr1$) (00'00£°8$) (6 PE9'F8S) 99° LLY‘E08 TS SSRIOM.LIN VIEL
(SO'9£1'86T$) (S€°€89'rS$) (OS LZ9$) (Ty'S€0'ZE$) 8r'SP9'789$ diOO ATOANAL
(v0'619°681$) (SL'7EE TSF) (00°0SL°E$) (s¢'8s9‘0E$) vs 1OCESos ONI SOd duOOa TAL
(69°98¢°L89) (9L°LIL‘pz$) (00'r¥9°7$) (20671 F1$) 19°9L0°10€$ ONI SNELSAS NOLLVOINNDWWOOFTAL
(O€ PeS*E9€$) (LO 8ZEOOTS) (6L°S1€$) (€0'9LL°8S$) 6L E9N'ZST IS dadOO SNOILVOINNWWOD SIXV TAL
(1Z'rL0‘L8$) (1s t€0°rz$) (CEL8¢'9$) (OS '8L0'F I$) 00°000°00€$ ddO0o NVRVTVL
(€0°685 ‘007 b$) (16°SLE6ST IS) (00°€+60Z$) (99° L91°6L9$) OS Srr'7Ly‘rI$ ONI SYYOMLIN TAOWVIOAS
(€8°Z1S‘SS1$) (SL°LPL£¢$) 00°0$ {(L6°879'SZ$) PLOEl‘9rss ONI CYVOPHDLIMS
($9 €8h'r6$) (br'9L0°97$) (00'SzT‘1$) (6F 9LZ7°STS) SO'8ZS‘SZES$ ONIWOO'LYOddNS
(ECOLL11Z$) (97 9FF'8S$) (00°008"r$) (98°6£7'FE$) 07'079°6ZL$ ONI JAVMLHDIT SOLVULS
(8€°9L6'6LL$) (Z8'P97'S17$) (6L°S1€$) (€9°60T9ZT$) 09'187‘L89‘7$ ONI SHYOMLANTDVUOLS

(0S6‘F80OLIS (96°9SS‘IP69PS [FIOL) | (SO'cEs‘COE'TS 14901) | (O00‘0OS‘LZS I8I0.L) | UONEUsIsaq [eI], Janss]
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(00°0S6'F80°0L 1) (96°9SS1F6'9FS) (so"e6s‘e0€'t$) (00°000'00S‘L7S) 00°000‘000‘98s$ TVLOL
(07'666'8EE$) (10'09S‘€6$) (SL'L96'1$) (ZL'018'rS$) SS 996 LOLIS ONI SAIDOTONHOSL TAL-Z
(Or ZOE79Z$) (SS°26E°CL$) 00°0$ (g0'01r ZS) 61'07L‘E06$ ONI YOITAdX
(€0'88L'9r1$) (98° TTS OFS) (00'000°0T$) (97 CEL *EZS) PT PEL'SOS$ ONI LON AWVOX
(60°SOr'88T$) (TL'L66'1S$) (00°006$) (L079 0€$) 90°61 1669$ NOILVYACAT ONITLSTYM ATIOM
(Z6°7ST 1L6b$) (Se0ss‘seT$) (ZE97S$) (69° LEP 6L$) S61 ES‘*769'1$ SYYOMLAIN WOO'NSWOM
(6Z £96 FPT'TS) ($L°988°S 1 €$) (00'0S2°E$) (LP LS0°S8T$) be 90P ERE ES ONI SALLITIOVA SSATIMIM
(Z3 OFF PES) (SO E01 90T$) (ZEOLITES) (L8°851°79$) €6' SPS PZETS ONI SNOLLVOINNINWOD ANIM
(€1°S96°T07' TS) (10's00'TEES) (00°06¥'8$) (1100S ¥6T$) Ob 079 bbl 'b$ ONI dnOUD NVA
(6$°716°C60'T$) (eZ 1€9L0€$) (S9°6S8°89) (8¢°90L°9ZT$) SESH SOL ES ONI SGOHLAWEAM
($8°919°768'1$) (EZ IPE TZS$) (00'00r'S$) (0z'S00°90€$) LI E0L ‘07S 9$ CaWdaa
(79°S69‘806$) (9 S6L°CI I$) (00°S08"€$) (1$°6L0°99$) O£ P60'80PTS$ duOO TAXIA
($9°Z88'797$) (69°2S6°CL$) (00'0S6'T$) (63°€0S Zr$) SE61L‘S06$ ONI ADO'IONHOSL VIILIA
(LL'@Z0°601$) (L0°680°0£$) (00°000°0T$) (€CLT9'LIS) 17 079SLES$ dadOO VIVUIA
(1Z'rL0°L8$) (1ST E079) (00°0SL°L$) (OS 8L0'F I$) 00°000°00€$ ONI FOVUIA
(1$°ZO0°LLZ$) (796 F'9LS) (LE°870°1$) (S8°98L'br$) 90°L9OEPS6$ daOO ALLANDIA
(86° €ZTLZ0'TS) (18 PL¥ E879) (00'rr9‘L$) (Zr'690°991$) Ev SBL‘SES ‘ES d¥OO ALINIOIA
(Z6°9LS bIZ$) ($8'0ZC'6S$) (6L°S90°0T$) (69° €69'rES) £8687 6EL$ duOO LNVIA
(TZ'PL0°L8$) (1S 1€0'FZ$) ($6't69°€$) (0¢°8L0'F1$) 00°000‘00€$ ONI YOCVIA
(Z6'vE0'SL8$) (88°LZETrzS) (00°00$"€$) (ZUp96'IrI$) EE OZL'SZO'ES ONI SOM’ LIN VIA
(Zr Ssr'sir$) (9£°699'F11$) (on 0¢s*Ez$) (IE LLUL9S) SE LEP IEPIS ONI LAN TVOLLYSA
(67 L8b'ErEes) (89°86L''6$) (0S °Z87'8$) (LE9ES*SSS) €S 67PEST TS SDNICIOH OGVUZA

(0S6‘F80°OLTS (96°9SS'TP6'OPS 1820L) | (SO'CGS'COE'TS 1839L) | (000‘00S‘LZ$ 1¥20.L) | UORNBUSISag [HO] Jonssy
[8}0,,) Sed4q Jo UONBIO[[y | sesusdxq Jo LOHLIOTI[V spaeMY VUISd sosusdxy

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CERTIFICATE OF SERVICE
I hereby certify that on the 20" day of November, 2009, I caused true and accurate copies

of the foregoing to be served by hand upon the following:

Gandolfo V. DiBlasi, Esq. Jack C. Auspitz, Esq.
Sullivan & Cromwell LLP Morrison & Foerster LLP

125 Broad Street 1290 Avenue of the Americas
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All other counsel of record to be served by LexisNexis File & Serve or First-Class mail.

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Matthew Bucher
